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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )                    8:09CR3
                     Plaintiff,             )
                                            )
              v.                            )
                                            )                     ORDER
ANTONIO FRAUSTO,                            )
                                            )
                     Defendant.             )
                                            )


       This matter is before the court sua sponte. On August 2, 2010, this court entered
a text order granting defendant’s motion for a fourteen-day extension to submit an affidavit
regarding his motion for leave to proceed in forma pauperis. Filing No. 196. The court has
now been informed that Mr. Frausto did not receive the appropriate forms. Filing No. 197.
The court will order the Clerk of Court to mail the AO 240 Form - Application to Proceed
Without Prepaying Fees to defendant at his current address. The defendant shall have
thirty days from the the date of this order to file these forms with the court, if he so
chooses.
       THEREFORE, IT IS ORDERED:
       1. The Clerk of Court will mail to the defendant the AO 240 Form - Application to
Proceed Without Prepaying Fees to:
              Antonio Frausto #22709-047
              CCA Leavenworth
              100 Highway Terrance
              Leavenworth, KS 66048

       2. The defendant shall thereafter have thirty days from the the date of this order
to file these forms with the court, if he so chooses.
       DATED this 16th day of August, 2010.
                                          BY THE COURT:


                                          s/ Joseph F. Bataillon
                                          Chief United States District Judge
